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                                                   MAS, LLC
                                                 PLM ANALYSIS


Proj#-Spl#                M69680 - 003BL          Analyst Paul Hess                 Date 12/5/2018
ClientName J3 Resources                                                 ClientSpl 20180061-38D
Location
Type_Mat         Shower to Shower Talc

Gross       White debris on slide                                                    % of Sample     100
Visual


                                     OPTICAL DATA FOR ASBESTOS IDENTIFICATION

    Morphology          straight                   straight
   Pleochroism          none                       none
  Refract Index         1.633/1.621                1.634/1.619
          Sign^         positive                   positive
     Extinction         oblique                    parallel
  Birefringence         medium                     medium
           Melt         no                         no
    Fiber Name          Actinolite/Tremolite       Anthophyllite

 ASBESTOS MINERALS                                       EST. VOL. %


 Chrysotile.............................
 Amosite................................
 Crocidolite............................
 Tremolite/Actinolite..............                               0.2
 Anthophyllite........................                            0.2
 OTHER FIBROUS COMPONENTS
 Talc -B/Y DS in 1.55                                       ***




 NON FIBROUS COMPONENTS


 Opaques                                                     X
 Talc                                                        X
 Mineral grains                                              X




  Binder Description



            Comments Actinolite/Tremolite and Anthophyllite asbestos observed. *** Trace amount of fibrous
                     Talc observed. X = Materials detected.

                                                       The method detection limit is 1% unless otherwise stated.
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